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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


PEN AMERICAN CENTER, INC., et
al.,

       Plaintiffs,

                     v.                     Case No. 3:23-cv-10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
BOARD,

       Defendant.



                          DECLARATION OF JAYNI F. HEIN

      I, JAYNI F. HEIN, state that the following is true and correct to the best of

my knowledge and belief.

      1.     Exhibit 1 is a true and complete statement based on the interview

completed with Raquel Wright on September 18, 2023.

      2.     Exhibit 2 is a true and complete statement based on the interview

conducted with Jennifer Cousins on September 12, 2023.

      3.     Exhibit 3 is a true and complete statement based on the interview

conducted with Vivian Green on September 14, 2023.
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      I declare under penalty of perjury, under 28 U.S.C. § 1746, that the

foregoing is true and correct.

                                 By: /s/ Jayni F. Hein
                                        Jayni F. Hein

                                 Date: September 25, 2023




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                       EXHIBIT 1




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                           Statement of Raquel Wright
      1.     Raquel Wright lives in Indian River County, Florida. Wright

previously worked as a teacher for over twenty years, including as an elementary

school teacher and a middle school English teacher. She has a daughter who

previously attended public school in Indian River County and a niece that is a

senior at Vero Beach High School in the county. Wright, her daughter, and her

niece identify as African American.

      2.     Wright grew up in Gifford, Florida and attended public schools in

Indian River County. When she went through school, there was very little in the

curriculum related to African American history. The extent of teaching about

African American history essentially consisted of learning about Martin Luther

King, Jr., Rosa Parks, and Harriet Tubman. As a result, Wright felt her identity

was underrepresented in the curriculum. When discussing this omission in the

curriculum, Wright stated, “it makes you feel like you aren’t important enough to

know who you are as a person.”

      3.     It was not until Wright attended college at Florida A&M University

that she got to experience instruction in African American history from people who

had extensive education on the topic and who looked like her, an experience that

Wright found eye-opening and formative. Wright believes this history is important

for all students to learn, because “unless we know better, we cannot do better.”



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       4.     Wright routinely takes her family to the Zora Neale Hurston festival

to expose them to authors who look like them, which has been an important

opportunity for Wright’s daughter and niece to discover new books by African

American authors.

       5.     As a student at a public school in Florida, Wright’s niece has felt the

impact of the lack of African American history taught in the curriculum and book

bans across the State of Florida. The curriculum’s limited focus on African

American history has made her feel less than her counterparts because the

curriculum includes a history that does not represent her, and her history and

culture is not equally represented.

       6.     Wright’s niece was surprised when she learned that The Bluest Eye by

Toni Morrison had been removed from libraries. Wright’s niece described the

book as one exploring themes related to race and the oppression of women by men.

For her, the book was one of healing, showing her that through all the travesty

there is a light at the end of the tunnel.

       7.     At summer camp, Wright’s niece read The Hate U Give by Angie

Thomas. Wright’s niece described the book as exploring protest and interactions

with the police. She stated that she learned valuable lessons about how to interact

with police from the book. Upon learning that Moms for Liberty had put that book

on their book ban list, Wright’s niece stated, “they just want to take everything


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from us.” Wright’s niece has also expressed interest in reading Concrete Rose by

Angie Thomas, after finding her experience reading The Hate U Give so

rewarding.

      8.     The book bans have made Wright’s niece feel misrepresented. They

have caused Wright’s niece to question whether she can rely on adults to be a

moral guide and to look out for her best interest. Wright’s niece now wants to go

to an HBCU to be around people of color, to learn what it feels like to have a Black

professor, and to expand her base of knowledge and hear different perspectives.

      9.     As a former teacher, Wright cannot imagine being restricted from

teaching books like Roll of Thunder, Hear My Cry by Mildred Taylor. Wright

emphasized that for some students, school is their only opportunity to be exposed

to these types of books, which can be incredibly important.

      10.    Wright worries that as a result of these book bans, students are being

taught a false narrative and will be unprepared to deal with the diversity that exists

in society. Wright believes that schools are not teaching students to be effective

adults in a diverse society, which is a disservice to the students.




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                       EXHIBIT 2




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                        Statement of Jennifer (Jen) Cousins
      1.     Jennifer Cousins lives in Orlando, Florida and has four children that

attend public school in Orange County, Florida. Two of her children attend

elementary school, one attends middle school, and one attends high school. Two

of Cousins’ children self-identify as LGBTQ. Cousins’ middle school child is

fourteen and identifies as non-binary and uses “she/they/them” pronouns. Her

third oldest child is nine and identifies as gay.

      2.     Access to books that explore themes relating to gender identity and

sexual orientation has had a profoundly positive impact on her children and her

family. In particular, her middle school child read the book Gender Queer by

Maia Kobabe a month after telling their family they are non-binary. Cousins

believes the book had an “incredible” effect on them. They understood that they

were not transgender and intrinsically identified with both genders, but struggled

with understanding how they felt about their identity. Reading that book provided

them with a deep sense of relief that other people felt the same way as them and

that they were not isolated in their experience. After reading the book, they

described themselves as feeling “seen” and the book provided a path to self-

discovery. The book allowed them to gain confidence in themselves and their self-

expression, including expression through style and dress.




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      3.     But Gender Queer was one of the first books to be challenged and

removed from Orange County public school libraries. Now, her oldest child

cannot access the book in his school library.

      4.     Similarly, Cousins’ third oldest child read and loved the book Drama

by Raina Telgemeier in third grade. Reading these books have allowed Cousins’

children who identify as LGBTQ to have deeper, more open conversations about

their identities with each other and with the rest of the family. Upon learning that

Drama was banned in some school libraries in Florida, Cousins’ middle school

child asked, “why does the State [of Florida] hate us so much?”

      5.     Cousins’ third oldest child has also expressed interest in reading All

Boys Aren’t Blue by George M. Johnson, which is novel about the author’s journey

growing up as a queer man. Cousins fears that a ban of Johnson’s novel in her

school district is imminent because it is on the Moms for Liberty list of books for

removal and surrounding districts have banned books included in that list.

      6.     Access to literature about LGBTQ topics has also had a profound

effect on other members of the family. Though Cousins has had experience with

LGBTQ persons for over 30 years, being non-binary was not discussed in her

home until her child identified recently as non-binary. Her child’s access to the

book has allowed them to express themselves to Cousins more effectively.




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      7.     The ability to learn about LGBTQ experiences has also affected her

youngest and oldest child. Cousins describes all her children as very close.

Understanding their LGBTQ siblings’ experience is essential to maintaining that

dynamic through informed communication about their experience and inclusive

literature exposes them all to new perspectives. For example, the oldest child was

thrilled that reading Gender Queer helped his younger sibling feel more at ease

with themself.

      8.     As a parent of children who identify as LGBTQ, Cousins worries

about the book bans taking place broadly across the State of Florida for multiple

reasons. First, Cousins is concerned about the message these book bans send to

children who identify as LGBTQ and that it is an attack on their identity. Second,

students who identify as LGBTQ are denied access to books that can provide a

path to self-discovery, as such books have done for Cousins’ children. For some

students, the school library may be the only way to access these books and

resources. Third, all students are denied the opportunity to learn about and

understand people with identities that may differ from their own. Cousins worries

that this lack of understanding does a disservice to students and may lead to less

compassion and acceptance across difference, particularly as students were isolated

from each other during the COVID-19 pandemic and have been deprived material

periods for social development.


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                       EXHIBIT 3




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                            Statement of Vivian Green
      1.     Doctor Vivian Green lives in Okaloosa County, Florida. She holds a

Doctorate in Education, and has worked in public education in Florida for decades,

serving as a principal at four different public elementary schools until she retired in

2008. Green has family at a public school in Florida.

      2.      Green’s views about the importance of access to books and stories by

or about Black people are shaped by her own educational experiences. Growing

up as a Black girl in Florida in the 1950s and 1960s, Green and other students did

not have access to books about Black people, nor books addressing concepts

relating to diversity and inequality. The inability to see herself represented in

books was defeating and made Green feel “devalued.” Green’s school taught an

incomplete, and at times false, narrative about slavery and race in America. While

teachers in her school taught Roman and Spanish history, they glossed over the

Civil War and taught a version of slavery that elided its horrors.

      3.     Green was further denied the opportunity to learn about the lived

experiences of people of color in America, which limited her career aspirations. It

was not until college that she began to learn about the contributions of people of

color to American society. Green believes that if she had been able to learn about

the scientific achievements of Black people earlier, for example, she would have

pursued a career in science.



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      4.     As a principal working in Florida’s public school system, Green has

witnessed substantial progress in terms of access to books about Black identity and

race. Green believes that her relatives growing up in Florida elementary and

middle schools benefit from seeing themselves and diverse families like theirs

represented in inclusive stories — the type of representation that was absent from

Green’s education in the 1950s and 1960s. Green fears, however, that recent

policies across the State of Florida are “turning back the clock” by sixty years.

      5.     As the relative of a student attending public school, Green is

concerned about the book bans occurring in Florida for multiple reasons. First,

Green is concerned that her relative will not be appropriately exposed to critical

perspectives about race and sexuality that depict “what real life is like” for

historically marginalized people. In particular, she hopes that her relative is

exposed to works by Toni Morrison, including The Bluest Eye, as well as books by

James Baldwin, Langston Hughes, and Ralph Ellison. Although Green does not

know which books are currently restricted at her relative’s school, she worries that

the school will restrict access to books by these authors or other authors who write

about Black identity or Black history.

      6.     Second, Green is concerned that targeting books about diversity will

deprive students of color, like her relative, of the ability to see themselves in

books. She believes that the book bans send a message to certain students that they


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are “not important enough to be included in a book,” and cause distress to both

students and their families. Green noted that her relative has already asked her

why books about some races are being removed from public schools, but not

others.

      7.     Third, Green believes that the book bans are not only detrimental to

students of color, but they disadvantage white students, denying them the benefits

of an inclusive education, including the opportunity to learn about people with

different backgrounds from their own.

      8.     Finally, Green worries that the book bans are having a chilling effect

on teachers. Green told a story, to the best of her knowledge, about a Black

teacher in Florida who in the 2021-22 school year assigned a book that explored

themes related to race. Teaching the book generated a complaint by a white parent

at the school, which sparked a school-wide controversy that led to the removal of

the book, and was one of the reasons the teacher decided to leave the education

system. To Green, the story illustrates the chilling effects of the book bans on

education: teachers in Florida are afraid to teach race-related coursework as they

normally would, for fear of facing a backlash or other negative repercussions.




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